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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

TESSERA ADVANCED TECHNOLOGIES, §
INC.                              §
                                  §
v.                                §                         Case No. 2:17-CV-0671-JRG
                                  §
SAMSUNG ELECTRONICS CO., LTD., ET §
AL.                               §

                                             ORDER

       This case is set for a scheduling conference in Marshall, Texas on February 2, 2018 at 1:30

p.m. before the Honorable Rodney Gilstrap. The purpose of the scheduling conference will be to

assign a claim construction hearing date and a trial setting. The parties shall be prepared to inform

the Court whether they will consent to trial before the Magistrate Judge.

       The parties shall prepare and submit a proposed docket control order, a proposed discovery

order and a proposed protective order, within the time periods contained in the schedule set forth

hereinafter.1 These orders shall be guided by the sample docket control, discovery, and protective

orders for patent cases, which can be found on the Court’s website. The sample orders include

provisions that require input from the parties. If the parties are unable to reach agreement on these

provisions, then the parties shall submit to the Court their competing proposals along with a

summary of their disagreements in a single joint submission.

       The sample orders include provisions that are mandatory and are not subject to change

without showing good cause. Good cause shall not be considered to be met simply by an indication

of the parties’ agreement. Should either party believe good cause can be shown to alter an


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         Timely submission of the parties’ proposed docket control order, proposed discovery
order and proposed protective order will be viewed by the Court as complying with the conference
requirement of Rule 26(f).
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otherwise mandatory provision, then such party shall file a separate motion to alter the provision

after the parties have filed the proposed docket control and discovery orders with the mandatory

provisions intact as previously required above.

        Furthermore, it is hereby ORDERED that the following schedule of deadlines is in effect

until further order of this Court:

 6 Weeks After               Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)
 Scheduling Conference

 3 Weeks After               *File Proposed Protective Order and Comply with Paragraphs 1 & 3
 Scheduling Conference       of the Discovery Order (Initial and Additional Disclosures)

                             The Proposed Protective Order shall be filed as a separate motion
                             with the caption indicating whether or not the proposed order is
                             opposed in any part.

 2 Weeks After               *File Proposed Docket Control Order and Proposed Discovery Order
 Scheduling Conference
  .                          The Proposed Docket Control Order and Proposed Discovery Order
                             shall be filed as separate motions with the caption indicating whether
                             or not the proposed order is opposed in any part.

 1 Week After                Join Additional Parties
 Scheduling Conference

 3 Days After                *File Notice of Mediator
 Scheduling Conference

 2 Weeks Before              Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
 Scheduling Conference

      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 4th day of January, 2018.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE




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